Case 1:22-cv-01032-PKC-JRC Document 211 Filed 05/02/23 Page 1 of 15 PageID #: 4133




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
         I




                     ----------------------------------------X
   IME WATCHDOG, INC.,
                                                                      Case No.: 1:22-cv-1032 (PKC) (JRC)
                                             Plaintiff,
                                                                      REPLY DECLARATION OF
                         -against-                                    ADAM ROSENBLATT IN FURTHER
                                                                      SUPPORT OF PLAINTIFF'S ORDER TO
   SAFA ABDULRAHIM GELARDI, VITO GELARDI,                             SHOW CAUSE FOR CONTEMPT AND
   GREqORY ELEFTERAKIS, ROMAN POLLAK,                                 FOR AN ORDER OF ATTACHMENT
   ANTHONY BRJDDA, NICHOLAS ELEFTERAKIS,
          I
                                                                      PURSUANT TO RULE 64 OF THE
   NICH. LAS LIAKIS, and IME COMPANIONS LLC,                          FEDERAL RULES OF CML
                                                                      PROCEDURE & ARTICLE 62 OF
                                             Defendants.              THE NEW YORK CIVIL
         --------------------------------X                            PRACTICE LAW & RULES
   SAF            GELARDI and IME COMPANIONS, LLC,

                                        Third-Party Plaintiffs,

                         -against-




                                         Third-Party Defendant.
                                      -------------X

                                 Third-Party Counter-Claimant,

              I           -against-
              I




   and iE
   SAFAIABUDLRAHIM GELARDI, VITO GELARDI,
         COMPANIONS, LLC,

              I


              I
                                 Third-Party Counter-Defendants.
   -----------------------------X

                  Adam Rosenblatt declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the

   follow·ng is true and correct:
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                   1.    I am the President ofIME WatchDog, Inc. ("IME WatchDog"), the Plaintiff in the
           1




   above-baptioned case.
           I




           I




           :2.           As such, I am fully familiar with the facts and circumstances set forth below, based

   upon the facts known to me to be tlue, a review of my records, conversations with principals of
           I




   IME WatchDog, and this Court's Orders.

                   3.    On April 20, 2023, I was assigned to observe an independent medical examination

   ("IMEp with Dr. Dorothy Scarpinato, located at 176 Hicksville Road, Bethpage, NY 11714.
           I


                   4.    Upon my anival, I observed JeffBeiben ("Beiben"), an agent ofIME Companions

   LLC CCompanions") and Client Exam Services LLC ("CES"), present at this location.

                   5.    I know what Beiben looks like because, among other things, he was present at the

   April , 2022 show cause hearing.

                   6.    When Beiben saw me, I observed him quickly ran out of Dr. Scarpinato' s office.

                   7.    I also heard the receptionist yell out words to the effect of: "Demetl-ia Jones, did
               I




   your lcigal rep step out?"
               I




               I




                   8.    I then observed an African American woman stating to the receptionist words to

   the effect of "he will be right back," referring to Beiben.

                   9.    I then also stepped out of Dr. Scarpinato's office to call my client, and waited in

   my car until my client arrived.

                   10.   While I waited, I observed Beiben leave with Demetria Jones.

                   11.   Later, when I was in the examination room with my client and Dr. Scarpinato, she

   asked            e who I was, I stated that I am Adam with IME Watchdog, and that Gabrielle usually

   comes o this location on behalf of IME WatchDog.
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          : 12.             She stated in response that there are always some regular IME observers at this

   office from various companies.

                      13.   Specifically, she identified Gabrielle from IME Watchdog, and also identified

   Beibe from IME Legal Reps.

                      14.   Prior to that date, I had never heard of any company called IME Legal Reps, and

   was p l)lexed to find out that there is another company given the niche field.
          I




          i           15.   Because Beiben worked for IME Companions and is related to its owners, and the

   compapy he subsequently performed services for at Client Exam Services LLC was enjoined from
              I




   servin : law films on the Enjoined Customers List, I found it curious that Beiben is now working

   for yet another company, "IME Legal Reps."

                      16.   I performed a search of the New York State Court Electronic Filing ("NYSCEF")

   syste~ for "Demetria Jones," and leamed that she is represented by Subin Associates LLP

   ("Subin''), a law firm on the Enjoined Customers List. See Index No.: 605063/2020 (Nassau

   County Supreme Court), NYSCEF Docket Entry l; see also copy of NYSCEF Case Detail page

   annexed heretQ a.s. E:xhibit "A. "

                      17.   Also attached hereto as Exhibits "B," "C," and "D" are pictures that contain a fair

   and ac ,urate representation of what I witnessed. I took these pictures with my cellular phone.

                      18.   I did not engage with Beiben as I have been previously advised by Daniella Levi,

   Esq. to; refrain from any contact with the Defendants.

                      19.   Separately,j~st today, I was observing an IME at 80 Washington Street, Suite 301,

   Pougl eepsie, NY with Dr. Bradley Wiener ("Dr. Weiner").
                  I




                            There, I observed Defendant Vito Gelardi ("Vi to") making a scene in front of Dr.

   Weine, and his secretary.
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          21.       I overheard him tell Dr. Weiner about my mental condition in a disparaging manner,

   accuselme of physically attacking him, and demanding that I be removed from the medical office.

         122.       I overheard Dr. Weiner stating, in response, words to the effect of that 1 would

   never rtack anyone, whereupon Dr. Weiner directed Vito to go downstairs and to wait until his

   JME w r s to be performed.

         123.       Vito is a large, tall man and was quite intimidating.

         124.       I took a p ictUJe of him as be was leaving; he left by showing me two thumbs up and

   smjJ in at me.
         1[25.      Attached hereto as Exhibit "E" is a picture that contains a fair and accurate

   representation of Vito. I took these pictures with my cellular phone.
          I
              declare under penalty of perjury that the foregoing is true and correct. Executed on

   May ~,2023.

                                                          Adam 'RoJe11btatt
                                                          ~..   p     '   .. , ' :z.   I   EDT


                                                          ADAM ROSENBLATT
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                 EXHIBIT A
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                    EXHIBIT B
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                    EXHIBIT C
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                    EXHIBIT D
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                    EXHIBIT E
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2023t05-02 Reply Declaration of Adam
Roser,blatt
Final Audit Report                                                                                  2023-05-02

    Created:                2023-05-02

    By:                     Emanuel Kataev (mail@emanuelkataev.com)

    Status:                 Signed

    Transaction ID:         CBJCHBCAABAArCs1 LkVT6PYe9MxHE_x-wZsTOrpfZULs
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